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                          EXHIBIT C
                                      Case 1:25-cv-05201-JAV                                                        Document 51-3
https://zillow. zendesk.com/hc, en-us/articles/213394458-My-home-on-Zillow-is-listed-by-my-agent-How-can-I-edit-my-listing
                                                                                                                                                                       Filed 07/17/25                Page 2 of 2

                                                          Zillow                                                                                                                                          Soo l>




                                                   Zillow Help center > Horne sellers > Home seller mot



                                                   Articles in this section

                                                     How do I post my home For
                                                                                        My home on Zillow is listed by my agent. How
                                                     Sale by Owner?
                                                                                        can I edit my listing?
                                                     How do l edit or manage
                                                                                       1year ago   Updated                                                                                  Follow
                                                     my For Sale By Owner



                                                                                        If your home is listed through your agent, any edits or updates need to be made directly on the listing
                                                     My home on Billow is
                                                                                        source (MLS or broker feed) by your agent, not on Zillow directly. Those changes will reflect on Zillow
                                                     by my agent How can !edit
                                                                                        when the feed refreshes, within 24 hours.
                                                     my listing?

                                                                                           • You are not able to manually add or edit information on your listings that was provided scorn MLS
                                                     How can I claim my For Sale              feeds. You will be able to add a Zillow 3D Home tour and Interactive Floor Plan to your listings.
                                                     by Agent hang,
                                                                                           • Vie can't manually edit the information that Zillow receive, It MUST be (ranged from the
                                                                                              listing source and will auto-refresh.
                                                     How can I edit the photos
                                                     on my For Sale by Agent
                                                                                        The why
                                                     lang,

                                                                                        We amplified the way we collect listing data, moving scorn thousands of disparate data feeds to M.
                                                     What is a Zestimate home          Inter. Data Exchange (IDX) feeds offered directly through MISS to their members. Zillow joined MISS
                                                     value?                             across the country to watch to these feeds.

                                                                                       In doing so, we made changes to some of our aim Premier Agent product offerings. Some of these
                                                                                        changes are necessary to comply with MIS rules, while others reflect innovations that aim to help evolve
                                                                                        the real estate industry.



                                                                                        Need help?

                                                                                       If you are experiencing any issues with your listing after speaking to your agent, please Conrad our
                                                                                        Customer Support team through our contact form.




                                                                                       0 X


                                                                                                                                    Was this article helpful?



                                                                                                                                 58 out of 299 found this helpful



                                                                                                                         Have more questions? Submit a request



                                                                                        Related articles
                                                                                        Zillow Customer Support Form

                                                                                        How do I edit or manage my For Sale By Owner listing?

                                                                                        How can I claim my For sale by Agent listing?

                                                                                        Real Estate Professional - Submit a Request Form

                                                                                        How do I post my home For sale by Owner?




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